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                                                                      —



                            IN THE
                 UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF WASHINGTON



SUSAN SOTO PALMER, et al.,              Case No. 3:22-CV-5035-RSL

           Plaintiffs,

      v.

STEVEN HOBBS, in his official ca-
pacity as Secretary of State of Wash-
ington, and the STATE OF WASH-
INGTON,

           Defendants,

      and,

JOSE TREVINO, ISMAEL G.
CAMPOS, and State Representa-
tive ALEX YBARRA,

     Intervenor-Defendants.




 SUPPLEMENTAL EXPERT REPORT OF SEAN P. TRENDE, Ph.D.
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                                                             Scope of Engagement — 1


1    Expert Qualifications

       My qualifications were set out in my December 22, 2023 Expert Report of Sean
P. Trende, Ph.D., in this matter (hereinafter “First Trende Report” or “First Report”).
They have not changed materially since then. I have not testified in any additional
matters, nor have I been deposed in any.



2    Scope of Engagement

       I was engaged to file a report pursuant to the Court’s order for supplemental expert
reports on Plaintiffs’ Map 3A. I have also been asked to determine if it is plausible to
draw a map that will address the concerns of the Yakama Nation regarding the Remedial
maps submitted by Dr. Oskooii while still creating a district that addresses this Court’s
ordered remedy: that the district will give Hispanic voters the opportunity to elect their
candidate of choice. In my opinion, it is possible to draw a map that will simultaneously
(1) address the concerns of the Yakama Nation; (2) contain a minority majority district;
and (3) provide a reasonable opportunity for Democrats to win the district referenced in
(2). I have labelled this map “Intervenor-Defendants Yakama Nation Inclusion Proposed
Alternative Map,” but will refer to it as the “Intervenor-Defendants’ Map” or simply
“Proposed Map” for shorthand.
       This map will also alleviate many of the needlessly far-reaching consequences cre-
ated by Map 3A. Because Map 3A was submitted to the Court after my First Report
was filed, I will evaluate it here. I will also respond to criticisms of my previous analysis
offered by Dr. Oskooii in his January 5, 2024 “Rebuttal Expert Report Submitted on
Behalf of Plaintiffs,” (hereinafter “Oskooii Report”) insofar as those criticisms would still
be relevant to my analysis here.
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           Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 2


3     Methodology

       To create this map I began with the existing districts that governed the 2022
elections in Washington (“Enacted Map”). I then sought to transform District 15 into a
minority-majority district that was typically carried by statewide Democratic candidates.
While this was a goal, I did not let these concerns predominate, instead prioritizing the
traditional principles of minimizing county and jurisdictional splits, respecting commu-
nities of interest (including the requests of the Yakama Nation), and drawing reasonably
compact, contiguous districts. I also sought to minimize disruption to adjoining districts.
It is likely possible to draw a district with a higher HCVAP or Democratic performance
by allowing race or politics to predominate over these concerns; these maps were excluded
from consideration.



4     Analysis of Demonstration Map 3A and Intervenor-

      Defendants’ Map

4.1    Yakama Nation Concerns

       In correspondence to the Attorney General of Washington, dated Dec. 22, 2023,
the Chairman of the Yakama Nation Tribal Council expressed his concerns with the var-
ious remedial maps proposed by plaintiffs in this case. The Chairman explained that
the tribe wished to preserve the political integrity of the Yakama Reservation boundary
and “incorporate off-Reservation trust land with its associated Yakama commu-
nities of interest into one representative district.” (Ex. 2) (emphasis supplied). In
particular, he noted that “[n]one of the [plaintiffs’ proposed] remedial maps represent the
Yakama Nation’s interests to the same degree as the current 14th Legislative District
that was a product of the Yakama Nation’s active participation as a sovereign govern-
ment in consultative posture with the Washington State Redistricting Commission.” He
concluded that “the Yakama Nation encourages your advocacy for the remedial redis-
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           Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 3


tricting which respects the Yakama Reservation political boundaries and incorporates
the greatest amount of off-Reservation trust land and associated communities of interest
with Indigenous voting populations.” Id.
       This is consistent with testimony adduced at trial, which demonstrated that the
Yakama Nation’s concerns were not limited to the Reservation boundaries itself, but also
reflect concerns that “their traditional hunting and fishing lands[] be contained within
one Legislative District. ” Trial Tr. 714:25-715:16.
       To my knowledge, this information is not located in a single document. Important
facets of it can, however, be pieced together by comments made by the tribe throughout
the redistricting process. For example, in a November 4, 2021 letter the chairman praised
District 4 (which includes Klickitat, Benton and Yakima counties) in the congressional
map for creating “shared representative interests in protecting water quality and habitat
along a majority of the Columbia River and many of its tributary basins” and including
“the Yakama Nation’s significant human service areas and public safety districts adjacent
to the Reservation.” (Ex. 3). He also praised Legislative District 14 for incorporating
“Yakama members living in established tribal communities off-Reservation and on federal
trust property along the Columbia River,” for including human service and public safety
areas adjacent to the district, and for including “critical natural resource management
areas for the protection of adjacent forests and rivers.” Id.
       PowerPoint presentations provided to the Commission on August 6, 2021 likewise
demonstrate a desire on the part of the Yakama Nation to include areas from “the river
to the river” – that is, that it should provide “single representation between the Yakima
River and Columbia River.” The communication noted that the 1992 and 2002 maps
had achieved this goal; these maps paired the Yakama Nation with Klickitat County in
its entirety. (Ex. 4). The tribe further specified a particular interest in service benefit
areas and environmental stewardship areas “particularly to the south of the Yakima
Reservation.” (Ex. 5). It also referred to a short film “Land of the Yakamas,” which
references the importance of the Klickitat River and White Salmon River. See https:
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             Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 4


//yakamafish-nsn.gov/LandOfTheYakamas,at2:19-2:25. In a June 3, 2021 letter,
the tribe urged the Commission to reject “any legislative mapping that demonstrably
’cracks’ the indigenous voting population located south of the Yakima River in Klickitat
and Skamania Counties.” (Ex. 6).
         Other sources further emphasize the importance of the region south of the Yakama
Reservation to the tribe. The State of Washington has identified Husum as a “historic
Yakama Nation fishing village,” and noted that the tribe has been “highly involved in the
protection and restoration of the [White Salmon] River.” apps.ecology.wa.gov/publ
ications/documents/2303103.pdf. White Salmon includes a treaty fishing access site
that is “for the exclusive use of Indian fishers from the four Columbia River Intertribal
Fish Commission (one is the Yakama Nation) CRITFC member tribes.” https://cr
itfc.org/for-tribal-fishers/in-lieutreaty-fishing-access-sites/. The
tribe has also been involved in restoration projects in the Klickitat River Watershed.
http://www.ykfp.org/klickitat/. See also https://yakamafish-nsn.gov/res
tore/projects/yakima-klickitat-fisheries-project-ykfp (describing Tribal
restoration efforts within the Yakima and Klickitat River watersheds).
         All of these are excluded from Remedial Map 3A, District 14. The following map
depicts Remedial Map 3A, District 14 with a black line. Reservation Boundaries and
Off-Reservation Trust Lands are depicted with a green line, while Enacted Map District
14 is drawn with a red line. As you can see, Remedial Map 3A, District 14 does appear
to include the Reservation in its entirety, as well as the various Off-Reservation Trust
Lands.
         But, unlike District 14 in the Enacted Map, it does not include all of the tribal
areas “from the river to the river.” In particular, it excludes the tribe’s fishing access site
in White Salmon. It excludes historic fishing villages along the White Salmon River. It
also trifurcates the Klickitat River and its watershed, while eliminating the White Salmon
River entirely from the district. This, then, elminates the Enacted Map’s establishment of
“shared representative interests in protecting water quality and habitat along a majority
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            Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 5


of the Columbia River and many of its tributary basins.”



  Figure 1: Remedial Map 3A District 14, Enacted Map District 15, and Tribal Areas
(a) Green line = Yakama Nation Reservation boundaries and Off-Reservation Trust Land; Red
line = Enacted District 15; Black line = Remedial Map 3A District 14; Blue lines = Klickitat
and White Salmon River Watersheds; Red area = Area excluded from District 14




       It does not have to be that way, though. Intervenor-Defendants’ Map alters just
three legislative districts: 13, 14 and 15.
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            Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 6

  Figure 2: Intervenor-Defendants proposed district boundaries, Yakima River valley




       Future sections in this supplemental report will explore various features and facets
of this map, but for our purposes here, the relevant fact is that the only changes to the
southern or western boundary of Enacted District 14 are the removal of two precincts
in Eastern Yakima County (which are not contained within the Yakama Nation),1 and
changes to some precincts in the City of Yakima. In other words, with respect to the Tribal
Lands, the Enacted Map is kept intact. This map would therefore “respect the Yakama
Nation’s political boundaries and incorporate the greatest amount of off-reservation trust
land and associated communities of interest with indigenous voting populations. . . . to
the same degree as the current 14th legislative district that was a product of the Yakama
Nation’s active participation as a sovereign government in consultative posture with the
Washington State Redistricting Commission.”
  1
    This appendage was created as a tradeoff for keeping Moxee and Terrace Heights intact elsewhere
in the map.
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             Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 7


4.2     Overview of Intervenor-Defendants’ Map, Compared to Re-

        medial Map 3A

        Remedial Map 3A makes only minor changes to Remedial Map 3; most of the
critiques from my initial report apply here as well.2 Regardless, as you can see, Remedial
Map 3A requires a redraw of most of the districts in eastern Washington, as well as
several districts in suburban Seattle and Tacoma.3
   2
      Dr. Oskooii criticizes my initial report for not thoroughly examining Washington’s redistricting
criteria. See Oskooii Report, at ¶11. That is not what I was asked to do, however, likely because
Intervenor-Defendants do not believe it is their burden to prove that Dr. Oskooii’s proposed remedial
maps fail to comply with all of the relevant criteria. I have no doubt, for example, that Dr. Oskooii was
able to draw maps that were contiguous; since that is not in dispute it did not seem worth including in
my report.
    3
      Dr. Oskooii insists that disruptions of the magnitude he creates with his remedial maps are “unavoid-
able.” See Oskooii Report at ¶14. It’s true that you can’t alter one district without altering at least one
more, but it is by no means guaranteed that such a shift will cascade into 12 additional districts. Indeed,
Dr. Oskooii’s own maps suggest that such movement is not unavoidable: Two of his proposed maps
alter two fewer districts than Map 3A, while one of them alters just four districts in total. Given that
Dr. Oskooii was aware of at least one less-disruptive alternative, it is “unexpected” that he would draw
maps that redrew most of the districts in Eastern Washington and then claim that this was demanded
by the “realities of redistricting.” id. ¶16. In fact, as shown below, it is demanded by his decision to
split the areas south of the Yakama Nation. While Dr. Oskooii insists that my emphasis on the Enacted
Map is misplaced, id., in my experience advising commission on the VRA and in litigating these cases,
minimizing changes to the legislature’s preferred map is critical for federal courts.
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     Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 8

         Figure 3: Enacted Districts altered by Remedial Map 3A




 The Proposed Map, on the other hand, changes only three districts.
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           Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 9

        Figure 4: Enacted Districts altered by Intervenor-Defendants’ Map 3A




      The following map, adapted from my first report, shows the areas that are changed
in Remedial Map 3A by highlighting the census blocks that are changed. As you can
see, to make Map 3A work, Dr. Oskooii “walks” the districts around much of Eastern
Washington, disrupting 13 districts.
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          Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 10

                    Figure 5: Blocks Changed in Remedial Map 3A




      Note that this is not necessitated by the ”realities of redistricting,” but rather by
Dr. Oskooii’s decision to split up the area immediately south of the Yakama Reservation
which the tribe had fought to include in a single district. You can see this in the fol-
lowing table, which details the movement of populations from district to district. 15,726
individuals are moved out of 14 and into 17. 15,639 individuals are moved from 17 to
20. 15,508 individuals are moved from 20 to 2. 15,545 individuals are moved from 2 to
31. 15,551 individuals are moved from 31 to 5. 15,697 individuals are moved from 5 to
12. 15,600 individuals are moved from 12 to 7. Finally, 15,697 indivduals from 7 to 13.
Notably, the one map he submitted that does not split up this critical area – Map 5 –
does not create such a cascade.
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         Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 11

                Figure 6: Movement of Population, Remedial Map 3A




      This table also demonstrates that, like its predecessor, Map 3A redistricts a large
number of residents – 526,621 in total. While this moves around 4,000 fewer residents
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            Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 12


than the previous iteration of Map 3, that still represents over three complete districts
worth of residents being redistricted.
        The Proposed Map, on the other hand, is far less disruptive.4



            Figure 7: Blocks Changed in Intervenor-Defendants’ Proposed Map




   4
     Dr. Oskooii claims that I assess core retention improperly, describing these data as “misleading,
inaccurate” and using “inappropriate metrics to assess core retention.” ¶23. They are none of these
things. In fact, I don’t believe I ever use the term “core retention” in my report. I am simply illustrating
the magnitude of the disruptions that Map 3 (and now 3A) creates. That’s not inaccurate or misleading,
it’s a precise answer to the question of the total effect of the plan: About 3 districts worth of people are
moved. I do this because in the context of VRA remedies, whether the map disrupts districts beyond
what’s needed to remedy the harm is an important consideration for courts.
   Dr. Oskooii instead relies upon the percentage of population moved between districts. This too is a
valid way to describe a map’s shifts. However, it is important to place these percentages in context. For
example, the districts with 86% core retention may seem as though they are retaining almost their entire
district core, when in fact this means about 1 in every 7 residents were moved into a different district. A
core retention rate of 90% means that 1 out of every 10 residents were moved. In other words, whether
you look at raw numbers or percentages, the disruption to these districts is still substantial, and add up
to a large overall move.
   Last, Dr. Oskooii refers back to his statewide metrics. Id. at ¶27. It is true that he only alters one-
in-four districts in the state. But this is why statewide metrics are misleading in this context; the 100%
core retention in districts that are truly far removed from the area he changes can obscure significant
changes in the districts he does change. And once again, the differences between 95% core retention
(Map 4) and 97.5% retention (Map 5) is a big deal: 1-in-20 residents in the state being moved versus
1-in-40.
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            Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 13


        It moves a total of 87,230 residents between the districts: Less than a single seat’s
worth. Moreover 29,220 residents constitute around 18.6% of a district’s population;
these districts retain around 80% of their populations from the Enacted Map.



                Figure 8: Movement of Residents, Enacted Plan v. Proposed




4.3     HCVAP

        As mentioned in my initial report, Map 3A, District 14 has an HCVAP of just at
50.2% using the 2021 data. Proposed Map District 15 has a higher HCVAP: 51.1% using
the 2021 data and 50.3% using the 2020 data. 5


4.4     Compactness

        As discussed in the initial report, Remedial Map 3 makes a number of districts
significantly less compact (it also makes a few districts slightly more compact). Because
it changes substantially fewer districts, the Proposed Map makes fewer changes. As with
    5
      Since District 14 in Map 3A is unchanged from Map 3, there is no need to rehash the racial analysis
of the district. It is certainly not the place of an expert to dispute Dr. Oskooii’s relating of his mental
process while drawing the maps. The only point of interest he makes is by taking the racial dotplots and
drawing arrows to show concentrations of Hispanic citizens that were not included in the district. See
Oskooii Report at 17. The point of my First Report, however, is that racial dotplots should be read in
conjunction with the choropleth maps, as both relate different data. What the choropleth maps show
is that the areas to which he points also have high concentrations of non-Hispanic White citizens. In
other words, adding these precincts would generally serve to lower the HCVAP of District 14, at times
substantially so.
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            Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 14


Map 3A, District 15 is made less compact than the Enacted Map. It is more compact
than 3A using Polsby-Popper, and less compact using Reock. District 13 is slightly less
compact than the Enacted Map using Reock but slightly more compact using Polsby-
Popper. As with Map 3A, the Proposed Map District 14 is less compact than the Enacted
Map using either Polsby-Popper or Reock, however it is more compact than Map 3A using
either metric. 6


                   Figure 9: Ten Least Compact Districts by Reock Score




   6
    Dr. Oskooii does not really dispute the district-by-district changes, but rather insists on once again
looking at statewide averages. Oskooii Report at ¶31. Because a large number of districts have zero
change, any statewide average is going to be weighted toward zero change, even as substantial changes
are made to individual districts which, to my understanding, are the focus of a VRA inquiry. His only
response is that district-by-district scores can be misleading because of feature selection, but there is
no real reason that the districts he changes should become less compact than the original district lines,
since all of the maps have to deal with feature selection, including the Enacted Map. It’s just that when
Dr. Oskooii changes a district, he tends to select features in ways to make the districts less compact, at
times substantially so. There’s nothing inevitable about this.
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           Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 15

             Figure 10: Ten Least Compact Districts by Polsby-Popper Score




4.5     Political Effects

        As discussed in my original report, Map 3 disrupts the political lean of Washing-
ton’s legislative districts beyond those found in the Yakima River valley. District 14 is
made substantially more Democratic than its predecessor District 15, but this is unsur-
prising given the requirement of creating a minority opportunity district. At the same
time, however, District 17 changes from being a district with a slight Republican lean
to one with a slight Democratic lean, while District 12 goes from being non-competitive
to being competitive, albeit with a Republican lean. District 5 depends on the races
examined.7
   7
    Dr. Oskooii once again tries to hide the impact of his maps in certain districts by referencing
statewide partisan bias metrics. Oskooii Report ¶55 - ¶60. Setting aside any problems with the Planscore
algorithm he uses to evaluate the maps, the approach suffers from the same shortcomings as his approach
to compactness. These metrics will generally not change much unless a district is outright flipped from
Democrat to Republican or vice-versa; in other words, making District 12 much more competitive won’t
change the efficiency gap even though the district becomes potentially winnable for the other party.
Regardless, my point isn’t that this is a radical overall impact on the composition of the House or
Senate. My point is simply that these changes do have political impacts that extend beyond remediating
the VRA violation that the Court found. Moreover, they are unnecessary, as illustrated by Dr. Oskooii’s
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           Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 16

      Figure 11: Democratic (Dis)Advantage, Enacted Map vs. Remedial Map 3A




       But again, all of this is avoidable. Because Districts 5, 12, and 17 are unchanged
in intervenor-defendants’ proposal (and in Map 5), their political position is unchanged
as well. District 14 is made more Republican, and District 13 is made marginally more
own Map 5 and the Intervenor-Defendants’ Map here.
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            Analysis of Demonstration Map 3A and Intervenor-Defendants’ Map — 17


Democratic. 8
        More importantly, District 15 is transformed into one where Democrats are fa-
vored, in other words, one where Hispanic voters will have a reasonable opportunity to
elect their candidate of choice. In all of the elections measured in the tables above,
Democrats were victorious. On average, from 2016 to 2020, the district transforms from
one where Republicans won by 2% to one where Democrats won by 5%. Of all of the
elections in Dave’s Redistricting, whether contained in the site’s composite or not, Re-
publicans carried the district only in the 2022 Senate race (it is my understanding that
there is a factual dispute as to who the Hispanic candidate of choice was in this election),
the 2016 Lieutenant Governor’s race, and the 2020 Secretary of State race. In all other
races, the Democrat won. Regardless, the expectation here would be that the Hispanic
candidate of choice would carry the district, even if it is not a guarantee.
   8
     That Dr. Oskooii interprets my reference to +/- 10% as meaning a movement of a tenth of a
percentage point in either direction is confusing. When I say +/- 10%, I mean percentage points, which
is how this is usually addressed. Moving from 67% to 64% isn’t going to change the partisanship of a
district much, as the Republican or Democrat will almost always win either way. Moving from 50% to
53% can have a large impact on a candidate’s ability to win. Dr. Oskooii even writes “A district is
considered to perform (also referred to as “lean” or “reliable” in political science) in favor of one party
over the other when the difference between the party vote shares of that district is 10% or higher (e.g.,
45%-55%).”
   Dr. Oskooii incidentally doesn’t provide any citation for his claim. First, within the study of elections,
rating the competitiveness of districts isn’t something the modern political science discipline is deeply
interested in and as such there aren’t any agreed-upon metrics; instead such assessments are typically
performed by race forecasters such as Nate Silver, Charlie Cook, or myself. See, e.g., Charles E. Cook, Jr.
& David Wasserman, “Recalibrating Ratings for a New Normal,” 47 PS: Political Science and Politics,
304 (2014); Logan Dancey & Geoffrey Sheagley, “Partisanship and Perceptions of Party-Line Voting in
Congress,” 71 Pol Rsrch. Q. 32 (2018) (relying on Cook Political Ratings); Mark Blumenthal, “Polls
Forecasts and Aggregators,” 47 PS: Political Science and Politics 427 (2014) (relying on RealClearPolitics
polling data); James E. Campbell, et. al, “Forecasting Recap: Assessments of the 2008 National Elections
Forecasts,” 42 PS: Political Science and Politics 19 (2009) (same); Matt Barreto, Loren Collingwood,
& Sylvian Manzano, “A New Measure of Group Influence in Presidential Elections: Assessing Latino
Influence in 2008,” 63 Pol. Rsrch. Q. 908 (2010) (same). Most would see a significant difference
between labeling a district “lean” and “reliable.” None of us, to my knowledge, are doing so with a legal
understanding of “perform” in mind. Moreover, I don’t know of any political scientist or elections analyst
that would dispute that, even within that 45%-55% range, there’s a substantial difference between a 50-50
district and a 54.5% Democrat – 45.5% Republican district.
   Finally, Dr. Oskooii is referring here to Dave’s Redistricting App’s rating of districts as “competitive”
or “not competitive.” While I have a great deal of respect for Dave Bradlee, there’s no real methodology
or justification for this cutoff. At best it is a rough heuristic for separating competitive districts from
non-competitive, and says nothing of the overall “lean” of a district within that range.
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                                                                       Conclusion — 18

Figure 12: Democratic (Dis)Advantage, Enacted Map vs. Intervenor-Defendants’ Map




4.6    Incumbency

       Finally, while Map 3A does eliminate some of the “double bunking” of incumbents,
the districts in the Yakima Valley area retain their double bunks, including by shifting
Sen. Torres into District 16. Likewise, Sen. Brad Hawkins of East Wenatchee is again
moved into District 7 with incumbent Sen. Shelly Short of Addy. The Proposed Map
avoids this, as all incumbents are kept in their original districts.



5     Conclusion

       In addition to the shortcomings detailed in my First Report, Remedial Map 3A
splits traditional Yakama tribal areas in western Klickitat County, which drew an objec-
tion from the Yakama Nation. Fortunately, it is possible to address this, while causing
less disruption to the overall map and still producing a district that will give Hispanic
voters an opportunity to elect their candidate of choice.
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                                                                 Conclusion — 19


      I declare under penalty of perjury under the laws of the State of Ohio that the
foregoing is true and correct to the best of my knowledge and belief. Executed on 23
February 2024 in Delaware, Ohio.




               Sean P. Trende
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                                                         Exhibit 1 — 20




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                                                     Exhibit 1 — 22
